 Case: 4:20-cr-00642-RWS Doc. #: 2 Filed: 10/07/20 Page: 1 of 2 PageID #: 5


                            UNITED STATES DISTRICT COURT                           ~BlEIQJ
                            EASTERN DISTRICT OF MISSOURI                        OCT 7 2020
                                  EASTERN DIVISION
                                                                                U.S. DISTRICT COURT
                                                                              EASTERN DISTRICT OF MO
                                                                                      ST. LOUIS
UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )
                                                )
               v.                               )
                                                )     4:20CR642 RWS/NCC
MARC HAROLD TAYLOR, II,                         )
                                                )
                      Defendant.                )

                                        INDICTMENT

                                           COUNT I

       The Grand Jury charges that:

       On or about September 10, 2020, in St. Louis City, within the Eastern District of Missouri,

                                   MARC HAROLD TAYLOR, II,

the defendant herein, did knowingly possess a destructive device (cannon) that was not registered

to him in the National Firearms Registration and Transfer Record, in violation of Title 26, United

States Code, Section 5861(d).

                                           COUNT II

       The Grand Jury further charges that:

       On or about September 10, 2020, in St. Louis City, within the Eastern District of Missouri

                                   MARC HAROLD TAYLOR, II,

the defendant herein, did knowingly possess a destructive device (machine gun) that was not

registered to him in the National Firearms Registration and Transfer Record, in violation of Title

26, United States Code, Section 586l(d).
 Case: 4:20-cr-00642-RWS Doc. #: 2 Filed: 10/07/20 Page: 2 of 2 PageID #: 6



                                          COUNT III

       The Grand Jury further charges that:

       On or about September 10, 2020, in St. Louis City, within the Eastern District of Missouri

                                   MARC HAROLD TAYLOR, II,

the defendant herein, did knowingly possess a machine gun, in violation of Title 18, United

States Code, Section 922(o)(1 ).

                                                    A TRUE BILL.



                                                    FOREPERSON


JEFFREY B. JENSEN
United States Attorney



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